                                 OPINION
{¶ 1} Kenneth Ebbing entered a plea of no contest to failure to comply with order or signal of police officer, a third degree felony. Ebbing was found guilty and was sentenced to one year in prison, which term was to be served consecutively to a two-year sentence imposed for robbery.
  {¶ 2} We granted Ebbing leave to appeal late and appointed appellate counsel to prosecute the appeal. On November 16, 2005, appointed appellate counsel filed an Anders brief in accordance with Anders v. California, (1967) 386 U.S. 738, wherein appointed appellate counsel represented to the court that he could find no arguably meritorious issues for appeal.
  {¶ 3} By decision and entry of December 1, 2005, we informed Ebbing that his appointed appellate counsel had filed an Anders
brief and of the significance of an Anders brief, and we invited Ebbing to file pro se assignments of error within 60 days of December 1, 2005.
  {¶ 4} Ebbing has not filed a brief with this Court.
  {¶ 5} Pursuant to our responsibilities under Anders, we have conducted an independent review of the record and we have concluded, as did appointed appellate counsel, that there are no arguably meritorious issues for appellate review and that this appeal is wholly frivolous.
  {¶ 6} Accordingly, the judgment appealed from is Affirmed.
Fain, J., and Donovan, J., concur.